           Case 2:17-cr-00101-WFN           ECF No. 609   filed 12/11/17        PageID.1953 Page 1 of 3
                                       UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF WASHINGTON
MATTHEW L. THOMPSON                              PROBATION OFFICE                                     BRANCH OFFICES

                                                                                                      FEDERAL BUILDING
   CHIEF PROBATION OFFICER                        December 11, 2017                                 25 S. 3rd Street, Room 326
           Thomas S. Foley
       United States Courthouse                                                                           PO BOX 1791
     920 W Riverside, Room 540                                                                      YAKIMA, WA 98907-1791
            PO BOX 306                                                   FILED IN THE           (509) 574-5535 / fax (509) 574-5539
    SPOKANE, WA 99210-0306                                           U.S. DISTRICT COURT
 (509) 742-6300 / fax (509) 742-6339                           EASTERN DISTRICT OF WASHINGTON         FEDERAL BUILDING
                                                                                                     825 Jadwin Ave, Suite 170
                                                                                                   RICHLAND, WA 99352-0446
REPLY TO    Spokane                                             Dec 11, 2017                    (509) 943-8130 / fax (509) 943-8139

                                                                      SEAN F. MCAVOY, CLERK




         Honorable John T. Rodgers
         United States Magistrate Judge
         Thomas S. Foley U.S. Courthouse
         P.O. Box 1493
         Spokane, WA 99210


                                                      RE: LOPEZ, Sergio Lavelle
                                                      Docket No.: 2:17CR00101-WFN-13
                                                      Violation Report/Request to Modify
                                                      Conditions of Pretrial Release Supervision


         Dear Judge Rodgers:

         On June 15, 2017, Mr. Lopez appeared before the Court for the purpose of an initial
         appearance. The government filed a motion for detention and a bail hearing was
         scheduled. Subsequently, the defendant was remanded to custody pending further order
         of the Court.

         On June 19, 2017, the defendant appeared before the Court for the purpose of a bail
         hearing. The Court ordered Mr. Lopez to be released from custody under conditions of
         pretrial release supervision.

         On June 21, 2017, the undersigned officer reviewed and signed the conditions of pretrial
         release supervision with the defendant.

         On August 18, 2017, the undersigned officer submitted a violation report alleging Mr.
         Lopez tested positive for the presence of marijuana on June 26, 2017. The Court took no
         action as it appeared this positive result was residual from Mr. Lopez’s use of marijuana
         prior to his arrest in the instant federal matter.

         Mr. Lopez’s next scheduled court appearance is March 19, 2018, before the Honorable
         Wm. Fremming Nielsen, Senior U.S. District Judge.
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The purpose of this letter is to request a modification of Lopez’s conditions of pretrial
release supervision.

Currently, special condition #28 requires Mr. Lopez to be subjected to either electronic or
GPS monitoring. Mr. Lopez has maintained regular contact with the undersigned officer
and has complied with the conditions of pretrial release supervision. Therefore, the
undersigned officer believes GPS monitoring is no longer necessary to assure safety to
the community or risk of nonappearance.

The undersigned officer contacted the assistant U.S. attorney and defense counsel.
Neither party objects to the removal of special condition #28.

Based on the information contained in this report, the undersigned officer respectfully
recommends that special condition #28 be removed from Mr. Lopez’s order of release
(CM/ECF document # 195).

Should the Court have any further questions, please contact the undersigned officer.



                                          Respectfully submitted,

                                          Matthew L. Thompson
                                          Chief U.S. Probation Officer

                                          s/Erik Carlson                       12/11/2017
                                          Erik Carlson                            Date
                                          U.S. Probation Officer


Approved By:

s/Tommy Rosser             12/11/2017
Tommy Rosser                    Date
Supervisory U.S. Probation Officer
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 [ X]   Court orders the removal of special condition #28
 [ ]    Court denies the modification request
 [ ]    Other



                                                              Signature of Judicial Officer

                                                                December 11, 2017
                                                              Date
